     Case 6:19-ap-01050-MH           Doc 40 Filed 12/20/19 Entered 12/20/19 15:50:45                         Desc
                                      Main Document Page 1 of 2



 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2          A Professional Law Corporation                                      FILED & ENTERED
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     (323) 937-4501Fax (323) 937-4503                                                  DEC 20 2019
 4
     baruchcohen@baruchcohenesq.com
 5                                                                               CLERK U.S. BANKRUPTCY COURT
     Attorneys for Plaintiffs Jonathan Baker & Baker Entertainment Group Central District of California
 6                                                                               BY cargill   DEPUTY CLERK



 7
 8                              UNITED STATES BANKRUPTCY COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10                                         RIVERSIDE DIVISION
11
12
      In re                                                    Case No.: 6:19-bk-10279-MH
13
      THOMAS MOUNT,                                            Adv. Pro. No.: 6:19-ap-01050-MH
14
15                    Debtor.                                  Before the Honorable Mark Houle

16    JONATHAN BAKER & BAKER                                   Chapter 7
      ENTERTAINMENT GROUP,
17                                                             ORDER GRANTING STIPULATION
                      Plaintiffs,                              FOR PROTECTIVE ORDER
18                                                             REGARDING CONFIDENTIAL,
      v.                                                       COMMERCIALLY SENSITIVE,
19
                                                               PROPRIETARY INFORMATION
20    THOMAS MOUNT,

21                    Defendant

22
23            The Court has considered the STIPULATION FOR PROTECTIVE ORDER

24   REGARDING CONFIDENTIAL, COMMERCIALLY SENSITIVE, PROPRIETARY
25   INFORMATION (“Stipulation”), between Plaintiff, JONATHAN BAKER & BAKER
26
     ENTERTAINMENT GROUP and Defendant, THOMAS MOUNT:
27
28

                                                         1
     Case 6:19-ap-01050-MH         Doc 40 Filed 12/20/19 Entered 12/20/19 15:50:45   Desc
                                    Main Document Page 2 of 2



 1        Based upon the Stipulation and good cause appearing therefor, the Stipulation is
 2   APPROVED.
 3
          IT IS SO ORDERED.
 4
                                                ###
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26       Date: December 20, 2019
27
28

                                                 2
